     Case 2:19-cv-00055-MCE-KJN Document 8 Filed 03/14/19 Page 1 of 3


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11       JAMES WILFRED RAY & DEBORAH                    No. 2:19-cv-55-MCE-KJN PS
         ANN RAY,
12
                         Plaintiffs,
13                                                      FINDINGS AND RECOMMENDATIONS
              v.
14
         WARREN STRACENER, et al.,
15

16                       Defendants.
17

18           Pending before the court is a motion to dismiss filed by various named judicial defendants

19   (four state court judges and a state court courtroom clerk), which is presently set for hearing on

20   March 21, 2019. (ECF No. 6.) Plaintiffs failed to oppose the motion in accordance with Local

21   Rule 230(c). For the reasons discussed below, the court recommends that the motion be

22   GRANTED.1

23           Plaintiffs’ complaint is vague and rambling, but alleges the existence of at least two state

24   court actions involving the foreclosure of plaintiffs’ real property located in Shingle Springs,

25   California (a quiet title action commenced by plaintiffs and a subsequent eviction/unlawful

26
     1
27    The court finds the motion appropriate for resolution without oral argument on the record and
     written briefing pursuant to Local Rule 230(g). Accordingly, the March 21, 2019 hearing is
28   VACATED.
                                                      1
     Case 2:19-cv-00055-MCE-KJN Document 8 Filed 03/14/19 Page 2 of 3


 1   detainer action). Plaintiffs allege that during each case, new judges were appointed replacing the

 2   original judges with judges from other counties. Although containing no further specific factual

 3   allegations against the state court judges (Stracener, Pechner, Smith, and DeVore) and the

 4   courtroom clerk (Jimenez), the complaint, liberally construed, suggests purported claims under 42

 5   U.S.C. § 1983 that the judicial officers violated plaintiffs’ constitutional due process and other

 6   civil rights in the course of the state court proceedings. Plaintiffs request, inter alia, an order

 7   from this court quieting title to the subject property in Shingle Springs, California.

 8          As an initial matter, the court lacks subject matter jurisdiction over plaintiffs’ claims,

 9   because such claims are barred by the Rooker-Feldman doctrine. As the Ninth Circuit Court of

10   Appeals explained:

11                  The Rooker-Feldman doctrine recognizes that federal district courts
                    generally lack subject matter jurisdiction to review state court
12                  judgments. The doctrine also precludes a federal district court from
                    exercising jurisdiction over general constitutional challenges that are
13                  “inextricably intertwined” with claims asserted in state court. A
                    claim is inextricably intertwined with a state court judgment if the
14                  federal claim succeeds only to the extent that the state court wrongly
                    decided the issues before it or if the relief requested in the federal
15                  action would effectively reverse the state court decision or void its
                    ruling. The only court with jurisdiction to review challenges to the
16                  constitutionality of such judgments is the United States Supreme
                    Court.
17

18   Fontana Empire Center, LLC v. City of Fontana, 307 F.3d 987, 992 (9th Cir. 2002) (internal

19   citations and quotation marks omitted). Here, plaintiffs’ federal claims are inextricably

20   intertwined with the state court judgments, because they would succeed only if this court were to
21   find that the state court wrongly decided the quiet title and eviction/unlawful detainer actions.

22   Additionally, plaintiffs explicitly seek an order quieting title to the property in their favor, which

23   would reverse the state court decisions.

24          Moreover, even if the court did not lack subject matter jurisdiction, plaintiffs’ claims

25   against the state court judges are barred by absolute judicial immunity, because such claims arise

26   from those defendants’ actions in their judicial capacity. See Mireles v. Waco, 502 U.S. 9 (1991).
27   Additionally, plaintiffs’ claims against the courtroom clerk (Jimenez) are barred by absolute

28   quasi-judicial immunity, because such claims arise from plaintiffs’ interactions with Jimenez as
                                                         2
     Case 2:19-cv-00055-MCE-KJN Document 8 Filed 03/14/19 Page 3 of 3


 1   part of the judicial process. Mullis v. U.S. Bankruptcy Court for the District of Nevada, 828 F.2d

 2   1385, 1390 (9th Cir. 1987).

 3            Although the court ordinarily liberally grants leave to amend, especially to pro se litigants,

 4   if it appears possible that pleading deficiencies could be cured by amendment, the deficiencies at

 5   issue here cannot be corrected by improved pleading or allegations of additional facts. As such,

 6   leave to amend would be futile. See Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 339 (9th Cir.

 7   1996).

 8            Accordingly, IT IS HEREBY RECOMMENDED that:

 9            1. The judicial defendants’ motion to dismiss (ECF No. 6) be GRANTED.

10            2. Plaintiffs’ claims against defendants Stracener, Pechner, Smith, DeVore, and Jimenez

11               be DISMISSED WITHOUT LEAVE TO AMEND.

12            These findings and recommendations are submitted to the United States District Judge

13   assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within fourteen (14)

14   days after being served with these findings and recommendations, any party may file written

15   objections with the court and serve a copy on all parties. Such a document should be captioned

16   “Objections to Magistrate Judge’s Findings and Recommendations.” Any reply to the objections

17   shall be served on all parties and filed with the court within fourteen (14) days after service of the

18   objections. The parties are advised that failure to file objections within the specified time may

19   waive the right to appeal the District Court’s order. Turner v. Duncan, 158 F.3d 449, 455 (9th

20   Cir. 1998); Martinez v. Ylst, 951 F.2d 1153, 1156-57 (9th Cir. 1991).
21            IT IS SO RECOMMENDED.

22   Dated: March 13, 2019

23

24

25

26
27

28
                                                         3
